Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 1 of 41

Phone

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Phone calls

Making a call

Making a call on iPhone is as simple as tapping a name or number in your contacts, using Siri
to say “call bob” (iPhone 45), tapping one of your favorites, or tapping a recent call to return it.
Buttons at the bottom of the Phone screen give you quick access to your favorites, recent calls,
your contacts, and a numeric keypad for dialing manually.

WARNING: For important information about driving safely, see the /mportant Product Information
Guide at www.apple.com/support/manuals/iphone.

Number of Number of
missed calls unheard messages

View a list of
your voicemail
messages.

Dial manually.

Call, email, or text someone
in your contacts list.

View your recent incoming and outgoing
calls to return a call or get more info.

Call a favorite with a single tap.

Return a missed call Do one of the following:
+ Phone: Tap Recents, then tap the name or number.
- Locked screen: Swipe the icon displayed in the alert to the right.
+ Notification Center: Tap the missed call.

41
42

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 2 of 41

Dialing manually
You can use the keypad to dial a phone number manually.

Dial a number: Tap Keypad, enter the number, then tap Call.

Paste a number to the keypad Tap the screen above the keyboard, then tap Paste.
Enter a soft (2-second) pause Touch the “*" key until a comma appears.

Enter a hard pause (to pause Touch the “#" key until a semicolon appears.
dialing until you tap the Dial

button)

Redial the last number Tap Keypad, tap Call, then tap Call again.

Voice dialing

You can use Siri (iPhone 4S) or Voice Control to call someone in your contacts, or to dial a specific
number. See Chapter 4, Siri," on page 38 and “Voice Control” on page 29.

|"

Make a phone call by voice: Activate Siri or Voice Control, say “call” or “dial,” then say the name

or number.

Siri: lf the screen isn’t on, press the On/Off or Home button 0, then hold iPhone to your ear.

Voice Control or Siri: Press and hold the Home button © until you hear the tone. You can also press
and hold the center button on the iPhone earphones.

For example:

+ Call John Appleseed

* Call John Appleseed at home
* Call John Appleseed, mobile

For best results, speak the full name of the person you're calling. When voice dialing a number,
speak each digit separately —for example, say “four one five, five five five, one two one two.”

Note: For the “800” area code in the U.S., you can say “eight hundred.”

Receiving calls
When you receive a call, tap Answer. If iPhone is locked, drag the slider. You can also press the
center button on your iPhone earphones.

Silence a call Press the On/Off button or either volume button. You can still answer the
call after silencing it, until it goes to voicemail.

Decline a call and send it directly Do one of the following:
to voicemail + Press the On/Off button twice quickly.
» Press and hold the center button on the iPhone earphones for about
two seconds. Two low beeps confirm that the call was declined.
+ Tap Decline (if iPhone is awake when a call comes in).

Block calls and maintain Wi-Fi Go to Settings and turn on Airplane Mode, then tap Wi-Fi to turn it on.
access to the Internet

lf iPhone is turned off or in Airplane Mode, incoming calls go directly to voicemail.

Chapter5 Phone
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 3 of 41

While on a call
When you're on a call, the screen shows call options.

Mute your line.
iPhone 4 or later: Touch and
hold to put your call on hold.

Dial a number or

a enter numbers.
i)
oe e») a Use the
way. aH speakerphone
sgl rags or a Bluetooth
device.
Piste 1 Pret ias
1 1
a Get contact info.
Make another iPhone 4 or later:
call. Make a FaceTime call.

iPhone 3GS (Hold button):
Put a call on hold.

The call options may vary, depending on which iPhone you're using.

Use another app during a call Press the Home button QO, then tap an app icon. To return to the call,
tap the green bar at the top of the screen.

End a call Tap End Call. Or press the center button on your iPhone earphones.

Second calls
During a call, you can make or receive another call. If you receive a second call, iPhone beeps and
shows the caller's information and a list of options.

Note: Making and receiving a second call may be an optional service in some areas. Contact your
carrier for more information.

Respond to a second incoming call:
* To ignore the call and send it to voicemail: Tap Ignore.
* To hold the first call and answer the new one: Tap Hold Call + Answer.

* Toend the first call and answer the new one: When using a GSM network, tap End Call + Answer.
With a CDMA network, tap End Call and when the second call rings back, tap Answer, or drag
the slider if the phone is locked.

If you're on a FaceTime video call, you can either end the video call and answer the incoming call,
or decline the incoming call.

Make a second call Tap Add Call. The first call is put on hold.

Switch between calls Tap Swap. The active call is put on hold.
With CDMA, you can’t switch between calls if the second call was outgoing,
but you can merge the calls. If you end the second call or the merged call,
both calls are terminated.

Merge calls Tap Merge Calls.
With CDMA, you can’t merge calls if the second call was incoming.

Chapter5 Phone 43
44

Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 4 of 41

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Conference calls
With GSM, you can set up a conference call to talk with up to five people at a time, depending on
your carrier.

Note: Conference calling may be an optional service in some areas. Contact your carrier for
information,

Create a conference call:

Make a call.

Tap Add Call and make another call. The first call is put on hold.

Tap Merge Calls. The calls are merged on one line and everyone can hear each other.

Repeat steps two and three to add additional calls.

Drop one call Tap Conference and tap ©} next to a call. Then tap End Call.

Talk privately with a call Tap Conference, then tap Private next to a call. Tap Merge Calls to resume
the conference call,

Add an incoming call Tap Hold Call + Answer, then tap Merge Calls.

If your service includes conference calling, iPhone always has a second line available in addition to
the conference call.

Note: You can’t make a FaceTime video call when you're on a conference call.

Using a Bluetooth device for calls

You can make and receive calls using a Bluetooth device paired with iPhone. See “Pairing a
Bluetooth device with iPhone” on page 33.

For information about using a Bluetooth device, see the documentation that came with the device.
Bypass your Bluetooth device:

- Answer a call by tapping the iPhone screen.

+ During a call, tap Audio and choose iPhone or Speaker Phone.

+ Turn off Bluetooth in Settings > General > Bluetooth.

+ Turn off the Bluetooth device, or move out of range. You must be within about 30 feet of a
Bluetooth device for it to be connected to iPhone.

Emergency calls
If iPhone is locked with a passcode, you may still be able to make an emergency call.

Make an emergency call when iPhone is locked: On the Enter Passcode screen, tap Emergency
Call, then enter the emergency number and tap the green button.

In the U.S.,, location information (if available) is provided to emergency service providers when
you dial 911,

With CDMA, when an emergency call ends, iPhone enters Emergency call mode to allow a call back
from emergency services. While in this mode, data transmission and text messages are blocked.
Exit emergency call mode (CDMA): Do one of the following:

* Tap the back button.

* Press the On/Off button or the Home button D.

+ Use the keypad to dial a non-emergency number.

Emergency call mode ends automatically after a few minutes, as determined by your carrier.

Chapter5 Phone
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 5 of 41

Important: You should not rely on wireless devices for essential communications, such as medical
emergencies. Use of iPhone to call emergency services may not work in all areas or all operating
conditions. Emergency numbers and services vary by area, and sometimes an emergency call
cannot be placed due to network availability or environmental interference. Some cellular
networks may not accept an emergency call from iPhone if iPhone is not activated, if iPhone is not
compatible with or configured to operate on a particular cellular network, or (when applicable) if
iPhone does not have a SIM or if the SIM is PIN-locked. If you're on a FaceTime video call, you must
end that call before you can call an emergency number.

Facelime

FaceTime video calls (iPhone 4 or later) let you see as well as hear the person you're talking to. You
can make a video call to someone with a Mac or iOS device that supports FaceTime. No setup is
needed, but you must have a Wi-Fi connection to the Internet. By default, FaceTime uses the front
camera so the person you call can see your face; switch to the rear camera to share what you see
around you.

Note: FaceTime may not be available in all areas.

Make a FaceTime call: In Contacts, choose a name, tap FaceTime, then tap the phone number
or email address the person uses for FaceTime.

To call someone who has an iPhone 4 or later, you can start by making a voice call, then tap
FaceTime.

When the voice call is established, the other person's image appears on your screen. An inset
shows what the other person sees. Rotate iPhone to use FaceTime in landscape orientation.

Drag your image
to any corner.

Switch cameras.

Mule (you can hear and see;
the caller can see but not hear).

If your Wi-Fi network is unavailable (for example, if you're out of range), you get an option to redial
the number for a voice call.

Note: When you make a FaceTime video call, your phone number is displayed even if caller ID is
blocked or turned off.

ChapterS Phone 45
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 6 of 41

Make a FaceTime call using Siri Press and hold the Home button until you hear the tone. With Siri (iPhone
or Voice Control 4S), you can also just hold iPhone to your ear (the screen must be one). Say
“FaceTime," followed by the name of the person to call.

Block FaceTime calls Go to Settings > FaceTime and turn off FaceTime. You can also disable
FaceTime in Restrictions. See “Restrictions” on page 150.

Use your Apple ID or an email Go to Settings > FaceTime, then tap “Use your Apple ID for FaceTime” or
address for FaceTime Add An Email. See “FaceTime” on page 45.

Visual voicemail

Setting up voicemail
On iPhone, visual voicemail lets you see a list of your messages and choose which ones to listen to
or delete, without having to listen to instructions or prior messages.

Note: Visual voicemail may not be available in all areas, or may be an optional service. Contact
your carrier for more information. If visual voicemail isn’t available, tap Voicemail and follow the
voice prompts to retrieve your messages.

,6)— Number of missed calls and
unheard voicemail messages.

The first time you tap Voicemail, iPhone prompts you to create a voicemail password and record
your voicemail greeting.

Change your greeting: Tap Voicemail, tap Greeting, then tap Custom. Tap Record and say your
greeting. When you finish, top Stop.

To review, tap Play. To rerecord, tap Record again. Tap Save when you're satisfied.

Use your carrier's default greeting Tap Voicemail, tap Greeting, then tap Default.

Set an alert sound for new Go to Settings > Sounds, then turn New Voicemail on. The alert sounds
voicemail once for each new voicemail.

If the Ring/Silent switch is off, iPhone won't sound alerts.

Change the voicemail password Go to Settings > Phone > Change Voicemail Password.

Chapter5 Phone
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 7 of 41

Checking voicemail
When you tap Phone, iPhone shows the number of missed calls and unheard voicemail messages.

Tap Voicemail to see a list of your messages.

Unheard
| messages Play/Pause

Speakerphone (Audio,
when a Bluetooth device
is connected. Tap to
choose audio output.)

®@ Hilary Beckrich oa7am

® Emma Webb e2aan

@ Paul Cashman aziam &
Ts nee) fly e2=— Contact info

David Martinez Yestertay &

-— Scrubber bar

4 a be
| aCe Drag the playhead to skip
A Oker crt Dr to any point in a message.

foley]

Return the call.

Listen to a voicemail message: Tap Voicemail, then tap a message.

If you've already heard the message, tap the message again to replay it. Use II and ® to pause and
resume playback.

Once you listen to a message, it’s saved until your carrier erases it.

Check voicemail from another Dial your own number or your carrier’s remote access number.
phone

Deleting messages
Delete a message: Swipe or tap the message, then tap Delete.

Note: In some areas, deleted visual voicemail messages may be permanently erased by your

carrier.

Listen to a deleted message Tap Deleted Messages (at the end of the list), then tap the message.

Undelete a message Tap Deleted Messages (at the end of the list), then tap the message and
tap Undelete.

Delete messages permanently Tap Deleted Messages (at the end of the list), then tap Clear All.

Contacts

From a contact's Info screen, a quick tap lets you make a phone call, create an email message, find
their location, and more. See “Searching contacts” on page 108.

ChapterS Phone 47
48

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 8 of 41

Favorites
Favorites gives you quick access to your frequently used phone numbers.

Add a contact's phone number to your favorites list: Tap Contacts, then choose a contact. Tap
“Add to Favorites,” Choose a phone number or email address (for FaceTime calls). On iPhone 4 or
later, choose whether to save as a voice or FaceTime call,

To call a favorite, tap Favorites and choose a contact. If @4 appears next to a name, iPhone makes
a FaceTime call.

Add a contact to favorites from the Tap Recents and tap @) next to the contact’s name, then tap “Add to
recents list Favorites.”

a

Delete a contact from your Tap Favorites and tap Edit. Then tap (@) next to a contact or number and

favorites tap Remove.

Reorder your favorites list Tap Favorites and tap Edit. Then drag == next to a contact to a new place in
the list.

Call forwarding, call waiting, and caller ID

Call forwarding
You can set iPhone to forward incoming phone calls to a another number.

Note: FaceTime calls are not forwarded.

Turn on call forwarding (GSM): Go to Settings > Phone > Call Forwarding and turn on Call
Forwarding. On the “Forward to" screen, enter the number you're forwarding calls to.

Turn on call forwarding (CDMA): Enter *72, followed by the number you're forwarding calls to,
then tap Call.

To turn off call forwarding (CDMA), enter *73, then tap Call.

With GSM, the Call Forwarding icon ((+) appears in the status bar when call forwarding is on.
You must be in range of the cellular network when you set iPhone to forward calls, or calls won't
be forwarded.

Call waiting
Call waiting gives you the option to take an incoming call when you're already on the phone.
You can:

* Ignore the incoming call

* Put the current call on hold and answer the incoming one

+ End the current call and answer the incoming one

If you're on a call and call waiting is turned off, incoming calls go directly to voicemail. See “Second
calls" on page 43.

Turn on call waiting (GSM): Go to Settings > Phone > Call Waiting.

With CDMA, call waiting is on by default, but can be disabled for a single call.
Disable call waiting for a call (CDMA): Enter *70, then dial the number.

Chapter5 Phone
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 9 of 41

Caller ID
Caller ID displays your name or phone number to the person you call—if the recipient's
equipment has that capability and you haven't turned off or blocked the feature.

Note: For FaceTime calls, your phone number is displayed even if caller ID is turned off or blocked.
Turn caller ID on or off (GSM): Go to Settings > Phone > Show My Caller ID.

With CDMA, caller ID is on by default, but can be disabled for a single call.
Block caller ID for a call (CDMA): Enter *67, then dial the number.

Ringtones, Ring/Silent switch, and vibrate

iPhone comes with ringtones that sound for incoming calls, Clock alarms, and the Clock timer.
You can also purchase ringtones from songs in iTunes. Use the switch Ring/Silent switch to turn
the ringer on or off, and Sound settings to set the vibrate options. By default, iPhone vibrates
whether it's in ring mode or silent mode.

Set the default ringtone: Go to Settings > Sounds > Ringtone.

Turn the ringer on or off: Flip the switch on the side of iPhone. See “Ring/Silent switch” on
page 11.

Important: Clock alarms still sound even if you set the Ring/Silent switch to silent.

Set iPhone to vibrate: Go to Settings > Sounds. Separate controls let you set vibrate for both ring
mode and silent mode.

Assign a different ringtone for In Contacts, choose a contact, tap edit, then tap Ringtone and choose
a contact a ringtone.
Purchase a ringtone from the See “Purchasing music, audiobooks, and tones” on page 100.

iTunes Store

For more information, see "Sounds and the Ring/Silent switch” on page 146.

International calls

Making international calls from your home area
For information about making international calls from your home area, including rates and other
charges that may apply, contact your carrier or go to your carrier's website.

Using iPhone abroad
When traveling abroad, you may be able to use iPhone to make calls, send and receive text
messages, and use apps that access the Internet, depending on available networks.

Enable international roaming: Contact your carrier for information about availability and fees.

Important: Voice, text message, and data roaming charges may apply. To avoid charges for phone
calls and data delivered via the cellular network (including visual voicemail) when roaming
outside your carrier's network, turn off Voice Roaming and Data Roaming.

If you have an iPhone 4S that’s been activated to work on a CDMA network, you may be able

to roam on GSM networks if the phone has a SIM card installed. See “Installing the SIM card” on
page 15.When roaming on a GSM network, iPhone has access to GSM network features. Charges
may apply. Contact your carrier for more information.

Chapter5 Phone 49
50

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 10 of 41

Turn off Voice Roaming ona
CDMA network

Go to Settings > General > Network.

Turning Voice Roaming off disables phones calls when you're outside of
your carrier's network.

Turn off Data Roaming

Go to Settings > General > Network.

Turning Data Roaming off disables data transmission over the cellular
network. Apps that depend on Internet access are disabled unless iPhone
has access to the Internet via a Wi-Fi connection. Visual voicemail delivery is
suspended when roaming unless your carrier does not charge for it.

Set iPhone to add the correct
prefix when dialing from
another country

Go to Settings > Phone, then turn on International Assist (not available in
all areas). This lets you use contacts and favorites to make U.S. calls, without
having to add a prefix or country code,

Set the carrier to use

Go to Settings > Carrier. This option is available only when you're traveling
outside your carrier's network, and with carriers that have roaming
agreements with your service provider. For more information, see
“Carrier” on page 146,

Get voicemail when visual
voicemail isn't available

Dial your own number (with CDMA, dial your number followed by #), or
touch and hold “1” on the numeric keypad.

Turn off cellular data

Go to Settings > General > Network.

Turn off cellular services

Go to Settings, tap Airplane Mode to turn it on, then tap Wi-Fi and turn
Wi-Fi on.

Incoming phone calls are sent to voicemail. To make and receive calls again
and get your voicemail messages, turn airplane mode off.

Setting options for Phone

In Settings, go to Phone to:

+ See the phone number for your iPhone

* Turn call forwarding, call waiting, and caller ID on or off (GSM)

* Turn TTY on or off

* Change your voicemail password (GSM)

* Turn international assist on or off—when calling from abroad, international assist lets you call
contacts and favorites in the U.S. without having to add a prefix or country code (GSM)

« Lock your SIM to require a PIN when you turn iPhone on (required by some carriers)

In Settings, go to FaceTime to:

« Turn FaceTime on or off

> Use your Apple ID for FaceTime

« Add an email address for FaceTime

To set ringtones, vibration options, and the sound for new voicemail, go to Settings > Sounds. See
also "Sounds and the Ring/Silent switch” on page 146.

Chapter5 Phone
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 11 of 41

Mail works with iCloud, Microsoft Exchange, and many of the most popular mail systems—
including Yahoo!, Google, Hotmail, and AOL—as well as other industry-standard POP3 and IMAP
mail systems. You can send and receive photos, videos, and graphics, and view PDFs and other
attachments. You can also print messages, and attachments that open in Quick Look.

Checking and reading email
In Mail, the Mailboxes screen gives you quick access to all your inboxes and other mailboxes.

When you open a mailbox, Mail retrieves and displays the most recent messages. You can set the
number of messages retrieved in your Mail settings. See “Mail accounts and settings” on page 54.

—— Number of
messages in
thread

Unread messages

Organize messages by thread Go to Settings > Mail, Contacts, Calendars, then turn Organize By Thread
on or off.
If you organize messages by thread, related messages appear as a single
entry in the mailbox. See “Mail accounts and settings” on page 54.

Check for new messages Choose a mailbox, or tap @ at any time.

Load additional messages Scroll to the bottom of the list of messages and tap Load More Messages.

Zoom in on part of a message Double-tap the area to zoom in on. Double-tap again to zoom out. Or pinch
apart or together to zoom in or out.

51
52

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 12 of 41

Resize any column of text to fit

the screen

Double-tap the text.

See all the recipients of a message

Tap Details. Tap a name or email address to see the recipient's contact
information, then tap a phone number or email address to contact
the person.

Add an email recipient to your

contacts list

Tap the message and, if necessary, tap Details to see the recipients. Then
tap a name or email address and tap Create New Contact or “Add to
Existing Contact.”

Flag or mark a message as unread

Open the message and, if necessary, tap Details. Then tap Mark.
To mark multiple messages as unread, see “Organizing mail" on page 54.

Open a meeting invitation

Tap the invitation, See “Responding to invitations” on page 70.

Working with multiple accounts
If you set up more than one account, the Accounts section of the Mailboxes screen lets you access
your accounts. You can also tap All Inboxes to see all of your incoming messages in a single list.
For information about setting up additional mail accounts, see "Mail accounts and settings” on

page 54.

When writing a new message, tap the From field to select the account from which to send

the message,

Sending mail

You can send an email message to anyone who has an email address.

Compose a message: Tap 4

Add a recipient from Contacts

Type a name or email address in the To field, or tap ©.

Rearrange recipients

To move a recipient from one field to another, such as from To to Cc, drag
the recipient's name to the new location.

Make text bold, italic,
or underlined

Tap the insertion point to display the selection buttons, then tap Select.
Drag the points to select the text that you want to style. Tap PB, then tap
B/I/U. Tap Bold, Underline, or Italic to apply the style.

Send a photo or video in an
email message

in Photos, choose a photo or video, tap Ef, then tap Email Photo or Email
Video. You can also copy and paste photos and videos.

To send multiple photos or videos, tap EF while viewing thumbnails in an
album. Tap to select the photos and videos, tap Share, then tap Email.

Save a draft of a message to
complete later

Tap Cancel, then tap Save. The message is saved in the Drafts mailbox.
Touch and hold @ to quickly access it.

Reply to a message

Tap @, then tap Reply. Files or images attached to the initial message
aren't sent back. To include the attachments, forward the message instead
of replying.

Quote a portion of the
message you're replying to
or forwarding

Touch and hold to select text. Drag the grab points to select the text you
want to include in your reply, then tap .

To change the indentation of quoted text, touch and hold to select text,
then tap ®. Tap Quote Level, then tap Increase or Decrease.

Forward a message

Open a message and tap &, then tap Forward.

Share contact information

In Contacts, choose a contact, tap Share Contact at the bottom of the
Info screen.

Chapter6 Mail
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 13 of 41

Using links and detected data

iPhone detects web links, phone numbers, email addresses, dates, and other types of information
that you can use to open a webpage, create a preaddressed email message, create or add
information to a contact, or perform some other useful action. Detected data appears as blue
underlined text.

Tap the data to use its default action, or touch and hold to see other actions. For example, for an
address, you can show its location in Maps or add it to Contacts.

Viewing attachments

iPhone displays image attachments in many commonly used formats (JPEG, GIF, and TIFF) inline
with the text in email messages. iPhone can play many types of audio attachments, such as MP3,
AAC, WAV, and AIFF. You can download and view files (such as PDF, webpage, text, Pages, Keynote,
Numbers, and Microsoft Word, Excel, and PowerPoint documents) that are attached to messages
you receive.

View an attached file: Tap the attachment to open it in Quick Look. (You may need to wait while
the file downloads before viewing it.)

Open an attached file Touch and hold the attachment, then choose an app to open it. If none of
your apps support the file and it isn't one that Quick Look supports, you can
see the name of the file but you can’t open it.

Save an attached photo or video Touch and hold the photo or video, then tap Save Image or Video. The item
is saved to your Camera Roll album in the Photos app.

Quick Look supports the following document types:

.doc, docx Microsoft Word

-htm, .html webpage

-key Keynote

numbers Numbers

«pages Pages

.pdf Preview, Adobe Acrobat
.ppt, .pptx Microsoft PowerPoint
wtf Rich Text Format

txt text

cf contact information
xls, .xIsx Microsoft Excel

Printing messages and attachments
You can print email messages, and attachments that can be viewed in Quick Look.

Print an email message: Tap 4, then tap Print.

Print an inline image Touch and hold the image, then tap Save Image. Then open Photos and
print the image from your Camera Roll album.

Print an attachment Tap the attachment to view it in Quick Look, then tap & and tap Print.

For more information about printing and printer options, see “Printing” on page 27.

Chapter 6 Mail 53
54

Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 14 of 41

Organizing mail

You can organize messages in any mailbox, folder, or search results window. You can delete or mark
messages as read. You can also move messages from one mailbox or folder to another in the same
account or between different accounts. You can add, delete, or rename mailboxes and folders.

Delete a message: Open the message and tap @.

You can also delete a message directly from the mailbox message list by swiping left or right over
the message title, then tapping Delete.

Some mail accounts support archiving messages instead of deleting them. When you archive
a message, it moves from your Inbox to All Mail. Turn archiving on or off in Settings > Mail,
Contacts, Calendars.

Recover a message Deleted messages are moved to the Trash mailbox.

To change how long a message stays in Trash before being permanently
deleted, go to Settings > Mail, Contacts, Calendars. Then tap Advanced.

Delete or move multiple messages While viewing a list of messages, tap Edit, select the messages you want to
delete, then tap Move or Delete.

Move a message to another While viewing a message, tap [g, then choose a mailbox or folder.
mailbox or folder

Add a mailbox Go to the mailboxes list, tap Edit, then tap New Mailbox.

Delete or rename a mailbox Go to the mailboxes list, tap Edit, then tap a mailbox, Enter a new name or

location for the mailbox, Tap Delete Mailbox to delete it and all its contents.

Flag and mark multiple messages — While viewing a list of messages, tap Edit, select the messages you want,
as read then tap Mark. Choose either Flag or Mark as Read.

Searching mail

You can search the To, From, Subject and body text of email messages. Mail searches the
downloaded messages in the current mailbox. For iCloud, Exchange, and some IMAP mail
accounts, you can also search messages on the server.

Search email messages: Open a mailbox, scroll to the top, and enter text in the Search field. Tap
From, To, Subject, or All to choose which fields you want to search. If your mail account supports it,
messages on the server are also searched.

Mail messages can also be included in searches from the Home screen. See “Searching” on page 28.

Mail accounts and settings

Accounts
For Mail and mail accounts, go to Settings > Mail, Contacts, Calendars. You can set up:

+ Microsoft Exchange

+ iCloud

+ MobileMe

* Google

* Yahoo!

« AOL

+ Microsoft Hotmail

+ Other POP and IMAP mail systems

Chapter6 Mail
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 15 of 41

Settings may vary, based on the type of account you're setting up. Your service provider or system
administrator can provide the information you need to enter.

Change an account's settings: Go to Settings > Mail, Contacts, Calendars, choose an account,
then make the changes you want.

Changes you make to an account's settings on iPhone aren't synced to your computer, so you
can configure your accounts to work with iPhone without affecting the account settings on

your computer.

Stop using an account

Go to Settings > Mail, Contacts, Calendars, choose an account, then turn an
account service (such as Mail, Calendars, or Notes) off,

If an account service is off, iPhone doesn't display or sync information with
that account service until you turn it back on, This is a good way to stop
receiving work email while on vacation, for example.

Store drafts, sent messages, and
deleted messages iPhone

Go to Settings > Mail, Contacts, Calendars, choose an account, then
tap Advanced. Choose the location for Draft Mailbox, Sent Mailbox, or
Deleted Mailbox.

Set how long before messages are
removed permanently from Mail

Go to Settings > Mail, Contacts, Calendars, choose an account, then tap
Advanced. Tap Remove, then choose a time: Never, or after one day, one
week, or one month.

Adjust mail server settings

Go to Settings > Mail, Contacts, Calendars, then choose an account. Ask
your network administrator or Internet service provider for the correct
settings.

Adjust SSL and password settings

Go to Settings > Mail, Contacts, Calendars, choose an account, then tap
Advanced, Ask your network administrator or Internet service provider for
the correct settings.

Turn Archive Messages on or off

Go to Settings > Mail, Contacts, Calendars, choose your account, then turn
Archive Messages on or off. See “Organizing mail” on page 54.

Delete an account

Go to Settings > Mail, Contacts, Calendars, choose an account, then scroll
down and tap Delete Account.

All email and the contacts, calendar, and bookmark information synced
with the account are removed from iPhone.

Send signed and encrypted
messages

Go to Settings > Mail, Contacts, Calendars, choose an account, then

tap Advanced. Turn on S/MIME, then select certificates for signing and
encrypting outgoing messages.

To install certificates, obtain a configuration profile from your system
administrator, download the certificates from the issuer's website using
Safari, or receive them in Mail attachments.

Set Push settings

Go to Settings > Mail, Contacts, Calendars > Fetch New Data. Push delivers
new information when iPhone is connected to a Wi-Fi network. You might
want to turn Push off to suspend delivery of email and other information, or
to conserve battery life. When Push is off, use the Fetch New Data setting to
determine how often data is requested. For optimal battery life, don’t fetch
too often.

Set other options for Mail

For settings that apply to all of your accounts, go to Settings > Mail,
Contacts, Calendars.

Chapter6 Mail

55
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Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 16 of 41
—_—, an,

Mail settings
Mail settings, except where noted, apply to all your accounts on iPhone.

Set options for mail: Go to Settings > Mail, Contacts, Calendars.

To change the tones played when mail is sent or received, go to Settings > Sounds.

Fetch New Data

This setting lets you turn Push on or off for iCloud, Microsoft Exchange, Yahoo!, and any other
push accounts on iPhone. Push accounts deliver new information to iPhone whenever new
information appears on the server (some delays may occur) and there's an Internet connection.
You might want to turn Push off to suspend delivery of email and other information, or to
conserve battery life.

When Push is off, and with accounts that don’t support push, data can still be fetched—that

is, iPhone can check with the server to see if new information is available. Use the Fetch New
Data setting to determine how often data is requested. For optimal battery life, don't fetch too
often. Setting Push to OFF (or setting Fetch to Manually on the Fetch New Data screen) overrides
individual account settings.

Set Push settings: Go to Settings > Mail, Contacts, Calendars > Fetch New Data.

Chapter6 Mail
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 17 of 41

Safari

Viewing webpages
Enter a web address (URL).

\'° the status bar to quickly scroll to the top.

alae fimes Ee

www.nylimes.com/ Search the web and

es este the current page.

— Double-tap an item or
pinch to zoom in or out.

Flick through open
webpages or open a
new page.

View your bookmarks or Reading List.

Add a bookmark, add to the Reading List,
add an icon to the Home screen, or share
or print the page.

View a webpage: Tap the address field (in the title bar) to bring up the keyboard. Type the web
address, then tap Go.

lf the address field isn’t visible, tap the status bar to quickly scroll to the top.

You can view webpages in portrait or landscape orientation.

Erase the text in the address field Tap 2.

Scroll a webpage Drag up, down, or sideways.

Scroll within a frame on a webpage Scroll with two fingers inside the frame.

Open a new page Tap (©), then tap New Page. You can have up to eight pages open at a time.
A number inside (©) indicates the number of open pages.

Go to another page Tap ©, flick left or right, then tap the page.

Stop a webpage from loading Tap %.

Reload a webpage Tap @ in the address field.

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 18 of 41

Close a page Tap (©, then tap ©) by the page.

Protect private information and Go to Settings > Safari and turn on Private Browsing.
block some websites from tracking
your behavior

Set options for Safari Go to Settings > Safari.

Links

Follow a link on a webpage: Tap the link.

See a link’s destination address Touch and hold the link.

Detected data—such as phone numbers and email addresses— may also appear as links in
webpages. Touch and hold a link to see the available options. See “Using links and detected
data” on page 53.

Reading List

Reading List lets you collect links to webpages to read later.
Add a link to the current page to your Reading List: Tap G®, then tap “Add to Reading List.”
Add a link to your Reading List: Touch and hold the link, then choose “Add to Reading List.”

View your Reading List Tap AA then tap Reading List.

Use iCloud to keep your Reading Go to Settings > iCloud, then turn on Documents & Data. See "iCloud” on
List up to date on your iOS devices page 17.
and computers

Reader
Reader displays web articles without ads or clutter so you can read without distrctions. On a
webpage with an article, you can use Reader to view just the article in a continuous window.

View an article in Reader: Tap the Reader button, if it appears in the address field.

Adjust font size Tap aA.

Bookmark, add to Reading List Tap Ee.
or Home Screen, share, or print
the article

Return to normal view Tap Done.

Entering text and filling out forms
Enter text: Tap a text field to bring up the keyboard.

Move to another text field Tap the text field, or tap Next or Previous.

Submit a form Tap Go or Search, or the link on the page to submit the form, if available,

To enable AutoFill to help fill out forms, go to Settings > Safari > AutoFill.

Chapter 7 Safari
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 19 of 41

Searching
The search field in the upper-right corner lets you search the web, and the current page or PDF.

Search the web, and the current page or searchable PDF: Enter text in the search field.
+ To search the web; Tap one of the suggestions that appear, or tap Search.

+ To find the search text on the current page or PDF: Scroll to the bottom of the screen, then tap
the entry below On This Page.

The first instance is highlighted. To find later occurrences, tap .

Change the search engine Go to Settings > Safari > Search Engine.

Bookmarks and history
Bookmark a webpage: Open the page, tap B®, then tap Add Bookmark.

When you save a bookmark, you can edit its title. By default, bookmarks are saved at the top level
of Bookmarks, Tap Bookmarks to choose another folder.

View previous web pages (history): Tap AA, then tap History. To clear the history, tap Clear.

Open a bookmarked webpage Tap A.
Edit a bookmark or bookmark Tap FA, choose the folder that has the bookmark or folder you want to edit,
folder then tap Edit.

Use iCloud to keep bookmarks up —_—Go to Settings > iCloud, then turn on Bookmarks. See “iCloud" on page 17,
to date on your iOS devices and
computers

Sync bookmarks with the web See "Syncing with iTunes” on page 18.
browser on your computer

Printing webpages, PDFs, and other documents
Print a webpage, PDF, or Quick Look document: Tap @, then tap Print.
For more information, see “Printing” on page 27,

Web clips

You can create web clips, which appear as icons on the Home screen.
Add a web clip: Open the webpage and tap &¥. Then tap “Add to Home Screen.”

When you open a web clip, Safari automatically zooms to the part of the webpage showing when
you saved the web clip, Unless the webpage has a custom icon, that image is also used for the
web clip icon on the Home screen.

Web clips aren't synced by MobileMe or iTunes, but they're backed up by iTunes.

Chapter 7 Safari

59
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Case 5:12-cv-00630;1HK Document 16-10 Filed 02/08/12 Page 20 of 41

Music

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Adding music and audio
To get music and other audio content onto iPhone:

* Purchase and download content from the iTunes Store on iPhone. See Chapter 21, “iTunes
Store," on page 99. (You can also go to the iTunes Store from Music by tapping the Store button
when browsing.)

» Use Automatic Download to automatically download new music purchased on your other iOS
devices and computers. See “iCloud” on page 17.

* Sync with iTunes on your computer. You can sync all of your media, or you can select specific
songs and other items. See “Syncing with iTunes” on page 18.

You can also use iTunes Match to access your music library in iCloud. See “iTunes Match’ on
page 64.

Playing songs and other audio

WARNING; For important information about avoiding hearing loss, see the Important Product
Information Guide at www.apple.com/support/manuals/iphone.

The buttons along the bottom of the screen let you browse content on iPhone by playlists, artists,
songs, and other categories.

Back

Track list

i
\

7 aN Play/Pause
H Next/Fast-forward
| |

PAN
la i

Ad re — AirPlay

Previous/ Volume
Rewind

Case 5:12-cv-0063Q,LHK Document 16-10 Filed 02/08/12 Page 21 of 41

Play a song or other item: Tap the item.

Use the onscreen controls to control playback. You can also use the buttons on the earphones.
See “Apple Earphones with Remote and Mic” on page 32.

Customize the browse buttons Tap More, tap Edit, then drag an icon over the button you want to replace.

Get more podcast episodes Tap Podcasts (tap More first, if Podcasts isn’t visible) then tap a podcast to
see available episodes.

Shake to shuffle Shake iPhone to turn shuffle on and change songs. Shake again to change
to another song.

To turn Shake to Shuffle on or off, go to Settings > Music.

Play music on AirPlay speakers or = Tap Cal. See “AirPlay” on page 33.

Apple TV

Display a song's lyrics Tap the album artwork when playing a song. (Lyrics appear if you've added
them to the song using the song's Info window in iTunes.)

Set options for Music Go to Settings > Music.

You can display the audio playback controls from another app by double-clicking the Home
button D, then flicking from left to right along the bottom of the screen.

The controls operate the currently playing app, or—if the music is paused—the most recent
app that played, The icon for the app appears on the right. Tap it to open the app. Flick right
again to display a volume control and the AirPlay button (when in range of an Apple TV or
AirPlay speakers).

Double-clicking the Home button O also displays audio playback controls when the screen
is locked,

Additional audio controls

To display additional controls, tap the album artwork on the Now Playing screen. You can see
elapsed time, remaining time, and the song number. The song's lyrics also appear, if you've added
them to the song in iTunes.

Playhead Genius Scrubber bar

Repeat ‘Ping like Ping post

Chapter8 Music 61
62

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 22 of 41

Repeat songs Tap &.
‘© = repeat all songs in the album or list
2 = repeat the current song only
© = no repeat

Shuffle songs Tap 3. Tap 3¢ again to play songs in order
26 = shuffle songs
3 = play songs in order

Skip to any point in a song Drag the playhead along the scrubber bar. Slide your finger down to slow
down the scrub rate,

Make a Genius playlist Tap &%. See “Genius” on page 64.

Use Ping See “Following artists and friends” on page 100.

Podcast and audiobook controls
Podcast and audiobook controls and information appear on the Now Playing screen when you
begin playback.

Email 30-second repeat

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Pe ae —

br)

lee as]

a

Scrubber bar 'Playhead

Set the playback speed Tap | '* , Tap again to change the speed.
(@4 = Play at double speed.
(8 = Play at half speed.
1X = Play at normal speed.

Skip to any point along the Drag the playhead along the scrubber bar. Slide your finger down to slow
timeline down the scrub rate.

Show or hide the controls Tap the center of the screen.

Hide podcast info Go to Settings > Music.

Using Siri or Voice Control with Music
You can use Siri (iPhone 4S) or Voice Control to control music playback on iPhone. See
Chapter 4, “Siri,” on page 38 and “Voice Control” on page 29.

Control music playback Say “play” or “play music." To pause, say “pause” or “pause music.” You can
also say "next song” or “previous song.”

wa

Play an album, artist, or playlist Say “play,” then say “album,’“artist,” or “playlist” and the name.

Shuffle the current playlist Say “shuffle.”

mu,

Find out more about the currently = Say “what's playing,”“what song is this,"“who sings this song,” or “who is this

playing song song by.”

wa

Use Genius to play similar songs Say “Genius,""play more like this,” or “play more songs like this.”

Cancel Voice Control Say “cancel” or “stop.”

Chapter 8 Music
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 23 of 41

Browsing album artwork in Cover Flow
When you browse music, rotate iPhone to see your iTunes content in Cover Flow and browse your
music by album artwork.

Browse album artwork: Drag left or right.

See the tracks on an album Tap the album artwork or 3. Drag up or down to scroll; tap a track to play it.

Return to the artwork Tap the title bar. Or tap @ again.

Viewing tracks on an album
See all the tracks on the album that contains the current song: On the Now Playing screen,
tap &. Tap a track to play it. Tap the thumbnail to return to the Now Playing screen.

rau war

a . Return to the Now
Playing screen.

> i ie ie aie. ¢

fefelui CM fere si talerg
Error iis} E Album tracks

ESV MMT Mas Felis

In track list view, you can assign ratings to songs. You can use ratings when creating smart
playlists in iTunes.

Searching audio content
You can search the titles, artists, albums, and composers of songs, podcasts, and other audio
content on iPhone.

Search music: Enter text in the search field at the top of a song list, playlist, artist list, or other
view of your Music content.

You can also search audio content from the Home screen. See “Searching” on page 28.

Chapter 8 Music 63
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 24 of 41

iTunes Match

iTunes Match stores your music library in iCloud—even songs imported from CDs—and lets
you enjoy your collection on your iPhone and other iOS devices and computers. iTunes Match is
available as a paid subscription.

Note: iTune Match is available starting in the U.S.

Subscribe to iTunes Match: In iTunes on your computer, choose Store > Turn On iTunes Match,
then click the Subscribe button.

Once you subscribe, iTunes adds your music and playlists to your iCloud library. Any of your songs
that match music already in the iTunes Store are automatically available in your iCloud library. Any
remaining songs are uploaded. You can download and play matched songs at iTunes Plus quality
(256 kbps DRM-free AAC), even if your original was of lower quality. For more information, see
www.apple.com/icloud/features.

Turn on iTunes Match Go to Settings > Music. Your iCloud library appears automatically in Music.
Any songs already on your device will be removed once you turn on iTunes
Match. Turning on iTunes Match also disables Genius Mixes and Genius
Playlists on your iPhone.

Genius

A Genius playlist is a collection of songs from your library that go great together. You can create
Genius playlists in iTunes and sync them to iPhone. You can also create and save Genius playlists
directly on iPhone.

A Genius Mix is a selection of songs of the same kind of music, recreated from your library each
time you listen to the mix.

To use Genius on iPhone, first turn on Genius in iTunes, then sync iPhone with iTunes. Genius
Mixes are synced automatically, unless you manually manage your music and choose which mixes
you want to sync in iTunes. Genius is a free service, but it requires an Apple ID.

When you sync a Genius Mix, iTunes may select and sync songs from your library that you haven't
specifically chosen to sync.

Browse Genius Mixes: Tap Genius (tap More first, if Genius isn’t visible). Flick left or right to access
your other mixes. To play a mix, tap P.

Make a Genius playlist: View Playlists, then tap Genius Playlist and choose a song in the list.
To make a Genius playlist from the Now Playing screen, tap to display the controls, then tap #8.

Save a Genius playlist In the playlist, tap Save. The playlist is saved in Playlists with the title of the
song you picked.

Refresh a Genius playlist In the playlist, tap Refresh.

Make a Genius playlist using a Tap Genius Playlist, then tap New and pick a song.

different song

Delete a saved Genius playlist Tap the Genius playlist, then tap Delete.

Genius playlists created on iPhone are copied to your computer when you sync with iTunes.

Note: Once a Genius playlist is synced to iTunes, you can’t delete it directly from iPhone. Use
iTunes to edit the playlist name, stop syncing, or delete the playlist.

Chapter 8 (Music
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 25 of 41

Playlists
You can create and edit your own playlists on iPhone, or edit playlists synced from iTunes on your
computer.

Create a playlist: View Playlists, then tap “Add Playlist” near the top of the list. Enter a title, tap @
to select songs and videos you want to include, then tap Done.

When you make a playlist and then sync iPhone to your computer, the playlist is synced to your
iTunes library.

Edit a playlist: View Playlists and select the playlist to edit. Tap Edit, then:

+ Toadd more songs: Tap +.

* To delete a song: Tap ©). Deleting a song from a playlist doesn’t delete it from iPhone.
* To movea song higher or lower in the list: Drag =.

Your edits are copied to the playlist in your iTunes library then next time you sync iPhone with
your computer.

Delete a playlist In Playlists, tap the playlist you want to delete, then tap Delete.

Clear a playlist In Playlists, tap the playlist you want to clear, then tap Clear.

Delete a song from iPhone in Songs, swipe the song, then tap Delete.
The song is deleted from iPhone, but not from your iTunes library on your
Mac or PC.

Home Sharing

Home Sharing lets you play music, movies, and TV shows on iPhone from the iTunes library
on your Mac or PC. iPhone and your computer must be on the same Wi-Fi network. On your
computer, iTunes must be open, with Home Sharing turned on and logged in using the same
Apple ID as Home Sharing on iPhone.

Note: Home Sharing requires iTunes 10.2 or later, available at www.itunes.com/download, Bonus
content, such as digital booklets and iTunes Extras, can’t be shared.

Play music from your iTunes library on iPhone:
1 In iTunes on your computer, choose Advanced > Turn On Home Sharing.
2 Log in, then click Create Home Share.

3 On iPhone, go to Settings > Music, then log in to Home Sharing using the same Apple ID
and password.

4 In Music, tap More, then tap Shared and choose your computer's library.

Return to content on iPhone Tap Shared and choose My iPhone.

Chapter 8 Music 65
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 26 of 41

Messages

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Sending and receiving messages

WARNING: For important information about driving safely, see the Important Product Information
Guide at www.apple.com/support/manuals/iphone.

Messages supports text messages with other SMS and MMS devices, and with other iOS devices
using iMessage. With MMS and iMessage, you can also include photos, videos, and other info.

Use iMessage to send messages over Wi-Fi or cellular data connections to other iOS 5 users.

You can see when the other person is typing, and let others be notified when you've read their
messages. Because iMessages are displayed on all of your iOS 5 devices logged in to the same
account, you can start a conversation on one of your devices, then continue it on another device.
iMessages are also encrypted.

Note: SMS and MMS require a cellular connection, and may not be available in all areas. Cellular
data charges or additional fees may apply.

Send a text message: Tap G, then tap @) and choose a contact, search your contacts by entering
a name, or enter a phone number or email address manually. Enter the message, then tap Send,

Note: An alert badge @) appears if a message can't be sent. Tap the alert in a conversation to try
sending the message again.

Conversations are saved in the Messages list. A blue dot @ indicates unread messages. Tap a
conversation to view or continue it. In an iMessage conversation, your outgoing messages appear
in blue.

__ Hellooso from the office. |
(Gott the grid) sony,

‘| Til say. Photo please.
‘Tookithis. today.)

(ie
ca

( Looks like fun. Wish | was
} there. }

Tap the attach media
button to include a
photo or video,

‘Lots. of,feod.and.sunw it’s. |
almost nap time.

© y — — <> Tap to enter text.

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 27 of 41

Use Emoji characters

Go to Settings > General > Keyboard > International Keyboards > Add New
Keyboard, then tap Emoji to make that keyboard available. To enter Emoji
characters when typing a message, tap @ to bring up the Emoji keyboard.
See “Switching keyboards” on page 153.

Resume a previous conversation

Tap the conversation in the Messages list, then enter a message and tap Send.

Display earlier messages in the
conversation

Scroll to the top (tap the status bar) and tap Load Earlier Messages.

Receive iMessages using another
email address

Go to Settings > Messages > Receive At > Add Another Email.

Follow a link in a message

Tap the link. A link may open a webpage in Safari, or dial a phone number,
for example.

Forward a conversation

Select a conversation, then tap Edit. Select parts to include, then tap Forward.

Add someone to your contacts list

Tap a phone number in the Messages list, then tap “Add to Contacts.”

Notify others when you've read
their messages, and set other
options for Messages

Go to Settings > Messages.

Manage notifications for messages

See “Notifications” on page 144,

Set the alert sound for incoming
text messages

See “Sounds and the Ring/Silent switch" on page 146.

Sending messages to a group
Group messaging lets you send a message to multiple recipients. Group messaging works with
iMessage and MMS (not available in all areas).

Send messages to a group: Tap &, then enter multiple recipients.

Note: With MMS, group messaging must also be turned on in Settings > Messages, and replies are

sent only to you—they aren't copied to the other people in the group.

Sending photos, videos, and more
With iMessage or MMS, you can send photos, videos, locations, contact info, and voice memos.

Send a photo or video: Tap ©.

The size limit of attachments is determined by your service provider. iPhone may compress photo

and video attachments, if necessary.

Send a location

In Maps, tap 6 for a location, tap Share Location (bottom of screen), then
tap Message.

Send contact info

In Contacts, choose a contact, tap Share Contact (bottom of screen), then
tap Message.

Send a voice memo

In Voice Memos, tap ==, tap the voice memo, tap Share, then tap Message.

Save a photo or video you receive
to your Camera Roll album

Tap the photo or video, then tap BP.

Copy a photo or video

Touch and hold the attachment, then tap Copy.

Save contact information
you receive

Tap the contact bubble, then tap Create New Contact or “Add to Existing
Contact.”

Chapter9 Messages

67
68

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 28 of 41

Editing conversations
If you want to keep just part of a conversation, you can delete the parts you don't want. You can
also delete entire conversations from the Messages list.

Edit a conversation: Tap Edit, select the parts to delete, then tap Delete.

Clear all text and attachments, Tap Edit, then tap Clear All.
without deleting the conversation

Delete a conversation Swipe the conversation, then tap Delete,

Searching messages
You can search the content of conversations in the Messages list.

Search a conversation: Tap the top of the screen to display the search field, then enter the text
you're looking for.

You can also search conversations from the Home screen. See “Searching” on page 28.

Chapter9 Messages
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 29 of 41

Calendar

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About Calendar

Calendar makes it easy to stay on schedule. You can view individual calendars, or several calendars
at once. You can view your events by day, by month, or in a list. You can search the titles, invitees,
locations, and notes of events. If you enter birthdays for your contacts, you can view those
birthdays in Calendar.

You can also make, edit, or cancel events on iPhone, and sync them back to your computer. You
can subscribe to Google, Yahoo!, or iCal calendars. If you have a Microsoft Exchange or iCloud
account, you can receive and respond to meeting invitations.

Viewing your calendars
You can view calendars individually, or as a combined calendar. This makes it easy to manage
work and family calendars at the same time.

Add an event.

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25 26/27/28 29 30 1

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hi ts.
Giao)s1tasiiala4aiis| redvled events

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a a

23 24 25 26 27 28 29

30 31 t || 2 3 4 5
— Events for the
7— selected day

r
}Q  aPM Sales meeting

Respond to a
calendar invitation.

Go to today. Switch views,

Change views: Tap List, Day, or Month. To view by week, rotate iPhone sideways.

In Day view, swipe left or right to move between dates.

69
70

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 30 of 41

View the Birthday calendar Tap Calendars, then tap Birthdays to include birthdays from your Contacts
with your events.

See the details of an event Tap the event. You can tap information about the event to get more details.
If an address for the location is specified, for example, tap it to open Maps.

Edit or delete a calendar Tap Calendars, then tap Edit.

Select calendars to view Tap Calendars, then tap to select the calendars you want to view. The
events for all selected calendars appear in a single calendar on iPhone,

Adding events

You can create and update calendar events directly on iPhone.

Add an event: Tap + and enter event information, then tap Done.

You can also touch and hold an empty spot on a calendar to create a new event. Drag the grab
points to adjust the event's duration.

Set an alert Tap Alert, then set an alert from 5 minutes to two days before the event.
Set a default alert for events Go to Settings > Mail, Contacts, Calendars > Default Alert Times
Update an event Tap Edit and change event information.

To quickly adjust an event's time or duration, touch and hold the event
to select it, then drag it to a new time or use the grab points to change

its duration.
Delete an event Tap the event, tap Edit, then scroll down and tap Delete Event.
Invite others to an event Tap Invitees to select people from Contacts. This requires an iCloud, a

Microsoft Exchange, or CalDAV account.

Responding to invitations

If you have an iCloud, Microsoft Exchange account, or a supported CalDAV account, you can
receive and respond to meeting invitations from people in your organization. When you receive
an invitation, the meeting appears in your calendar with a dotted line around it. El appears in the
lower-right corner of the screen.

Respond to an invitation: Tap an invitation in the calendar. Or tap El to display the Event screen,
and then tap an invitation.

See information about the Tap “invitation from.”

organizer

See other invitees Tap Invitees. Tap a name to see that person's contact information.

Add comments in reply Tap Add Comments. Your comments are visible to the organizer, but not

to other attendees. Comments may not be available, depending on the
calendar service you're using.

Set your availability Tap Availability and select “busy” or “free.”

Searching calendars
In List view, you can search the Titles, Invitees, Locations, and Notes fields of the events in your
calendars. Calendar searches just the events for the calendars you're currently viewing.

Search for events: Tap List, then enter text in the search field.

Calendar events can also be included in searches from the Home screen. See “Searching” on page 28.

Chapter 10 Calendar
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 31 of 41

Subscribing to calendars
You can subscribe to calendars that use the iCalendar (ics) format. Many calendar-based services
support calendar subscriptions, including iCloud, Yahoo!, Google, and the Mac OS X iCal application

Subscribed calendars are read-only. You can read events from subscribed calendars on iPhone,
but you can't edit events or create new ones.

Subscribe to a calendar: Go to Settings > Mail, Contacts, Calendars, then tap Add Account.
Tap Other, then tap Add Subscribed Calendar.

You can also subscribe to an iCal (or other .ics) calendar published on the web, by tapping a link
to the calendar.

Importing calendar events from Mail
You can add events to a calendar by importing a calendar file from an email message. You can
import any standard .ics calendar file.

Import events from a calendar file: In Mail, open the message and tap the calendar file.

Calendar accounts and settings

There are several settings in Settings > Mail, Contacts, Calendars that affect Calendar and your
calendar accounts.

Calendar accounts are also used to sync to-do items for Reminders.

Add a CalDAV account: Go to Settings > Mail, Contacts, Calendars, tap Add an Account, then tap
Other. Under Calendars, tap Add CalDAV Account.

These options apply to all of your calendars:

Set the calendar alert tones Go to Settings > Sounds > Calendar Alerts.

Sync past events Go to Settings > Mail, Contacts, Calendars > Sync, then choose time period.
Future events are always synced.

Set alerts to sound when you Go to Settings > Mail, Contacts, Calendars and turn on New Invitation Alerts.

receive a meeting invitation

Turn on Calendar time zone Go to Settings > Mail, Contacts, Calendars > Time Zone Support.

support

Set a default calendar Go to Settings > Mail, Contacts, Calendars > Default Calendar.

Use iCloud to keep Calendar Go to Settings > iCloud, then turn on Calendar. See “iCloud” on page 17.

up-to-date on your iOS devices
and computers

Important: When Time Zone Support is on, Calendar displays event dates and times in the time
zone of the city you selected. When Time Zone Support is off, Calendar displays events in the time
zone of your current location as determined by the network time. Some carriers don't support
network time in all areas. When you travel, iPhone may not display events or sound alerts at the
correct local time. To manually set the correct time, see “Date & Time” on page 151.

Chapter 10 Calendar

71
72

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 32 of 41

Photos

Viewing photos and videos
Photos lets you view photos and videos on iPhone, in your:

+ Camera Roll album—shots you took with the built-in camera, or save from an email, text
message, or webpage

+ Photo Stream album—photos streamed from iCloud
* Photo Library and other albums synced from your computer

Edit the photo.

7— Tap the screen to
display the controls.

Delete the photo.

Stream photos using AirPlay.

Play a slideshow.

Share the photo, assign it to a contact,

use it as wallpaper, or print it.

View photos and videos: Tap an album, then tap a thumbnail to see the photo or video in
full screen.

Albums you sync with iPhoto 8.0 (iLife 09) or later, or Aperture v3.0.2 or later, can be viewed by
events or by faces. You can also view photos by location, if they were taken with a camera that
supports geotagging.

Show or hide the controls Tap the full-screen photo or video.
See the next or previous photo Flick left or right.

or video

Zoom in or out Double-tap or pinch.

Pan a photo Drag the photo.

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 33 of 41

Play a video Tap in the center of the screen.

View a video in full screen, or fit Double-tap the video.

to screen

Stream a video to an HDTV See “AirPlay” on page 33.

Edit photos or trim videos See “Editing photos" or "Trimming videos” on page 77.

Viewing slideshows
View a slideshow: Tap an album to open it, then tap a photo and tap P. Select slideshow options,
then tap Start Slideshow.

Stream a slideshow to an HDTV See “AirPrint” on page 27.
Stop a slideshow Tap the screen.
Set additional options Go to Settings > Photos.

Organizing photos and videos

You can create, rename, and delete albums on iPhone to help you organize your photos and videos.

Create a album: When viewing albums, tap Edit, then tap Add. Select photos to add to the new
album, then tap Done.

Note: Albums created on iPhone aren't synced back to your computer.

Rename an album Tap Edit, then select an album.
Rearrange albums Tap Edit, then drag = up or down.
Delete an album Tap Edit, then tap }.

Sharing photos and videos
Send a photo or video in an email, text message (iMessage or MMS), or Tweet: Choose a photo
or video, then tap . If you don't see , tap the screen to show the controls.

Note: To post a Tweet, you must be logged in to your Twitter account. Go to Settings > Twitter.

The size limit of attachments is determined by your service provider. iPhone may compress photo
and video attachments, if necessary.

Send multiple photos or videos While viewing thumbnails, tap E@, select the photos or videos, then
tap Share.

Copy a photo or video Touch and hold the photo or video, then tap Copy.

Copy multiple photos or videos Tap @ in the upper-right corner of the screen, Select the photos and

videos, then tap Copy.

Paste a photo or video in an email == Touch and hold where you want to place the photo or video, then
or text (iMessage or MMS) message _ tap Paste.

Chapter 11 Photos

73
74

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 34 of 41

Save a photo or video from an Tap to download the item if necessary, tap the photo or touch and hold the
email message video, then tap Save.

Save a photo or video froma text Tap the image in the conversation, tap E&Y, than tap Save.

message
Save a photo from a webpage Touch and hold the photo, then tap Save Image.
Share a video on YouTube While viewing a video, tap Ef, then tap “Send to YouTube.”

Photos and videos that you receive, or that you save from a webpage, are saved to your Camera
Roll album.

Printing photos
Print a photo: Tap Gf, then tap Print.

Print multiple photos: While viewing a photo album, tap E®. Select the photos you want to print,
then tap Print.

For more information, see “Printing” on page 27.

Chapter 11 Photos
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 35 of 41

Camera

About Camera

The built-in camera lets you take both still photos and videos. iPhone 45 and iPhone 4 include a
front camera for FaceTime and self-portraits (in addition to the main camera on the back), and an
LED flash.

View the photos and videos you've taken.

Set LED flash mode.
Turn on the grid or HDR.

Switch
between the
main camera
and front
camera.

4— Tap a person
or object to
focus and set
exposure.

Camera/Video switch
Take a photo.

If Location Services is turned on, photos and videos are tagged with location data that can be
used by some apps and photo-sharing websites. See "Location Services” on page 145.

Note: If Location Services is turned off when you open Camera, you may be asked to turn it on.
You can use Camera without Location Services.

75
76

Case 5:12-cv-00630;.HK Document 16-10 Filed 02/08/12 Page 36 of 41

Taking photos and videos
You can quickly open Camera when the screen is locked by double-clicking the Home button,
then tapping @.

Take a photo: Make sure the Camera/Video switch is set to fy, then aim iPhone and tap (i).
You can also take a photo by pressing the volume up button.

Record a video: Slide the Camera/Video switch to m4, then tap (@ ) to start or stop recording,
or press the volume up button.

When you take a photo or start a video recording, iPhone makes a shutter sound. You can control
the volume with the volume buttons or the Ring/Silent switch.

Note: In some areas, the shutter sound isn't silenced by the Ring/Silent switch.

A rectangle shows where the camera is focused and setting the exposure. When you're
photographing people, iPhone uses face detection (iPhone 45) to automatically focus on the most
prominent face and balance exposure across up to 10 faces.

Zoom in or out Pinch the screen (main camera, in camera mode only).

Turn on the grid Tap Options.

Set focus and exposure Tap the person or object on the screen. (Face detection is turned off for
the shot.)

Lock the focus and exposure Touch and hold the screen until the rectangle pulses. AE/AF Lock appears

on the screen, and the focus and exposure remain locked until you tap the
screen again,

Take a screenshot Press and release the On/Off button and the Home button D at the same
time. The screenshot is added to your Camera Roll album.

HDR photos
HDR (iPhone 4 or later) blends the best parts of three separate exposures into a single“high
dynamic range” photo. For best results, iPhone and the subject should be stationary.

Turn on HDR: Tap Option, then set HDR. When HDR is on, the flash is turned off.

To keep the both the normal and HDR versions, go to Settings > Photos. When both versions are
kept, Sy HOR appears in the upper-left corner of the HDR photo (when viewed in your Camera Roll
album with the controls visible).

Chapter 12) Camera
Case 5:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 37 of 41
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Viewing, sharing, and printing

The photos and videos you take with Camera are saved in your Camera Roll album.

View your Camera Roll album: Flick left-to-right, or tap the thumbnail image in the lower-left
corner of the screen. You can also view your Camera Roll album in the Photos app.

To take more photos or videos, tap Gi.
If you have iCloud Photo Stream turned on in Settings > iCloud, new photos also appear in your

Photo Stream album and are streamed to your other iOS devices and computers. See “iCloud” on
page 17.

For more information about viewing and sharing photos and videos, see "Sharing photos and
videos” on page 73 and “Uploading photos and videos to your computer” on page 78.

Show or hide the controls while Tap the screen.

viewing a full-screen photo or

video

Email or text a photo or video Tap &.

Tweet a photo View the photo in full screen, tap &@®, then tap Tweet. You must be logged

in to your Twitter account, Go to Settings > Twitter.
To include your location, tap Add Location.

Print a photo Tap G®. See “Printing” on page 27,

Delete a photo or video Tap Wi.

Editing photos
You can rotate, enhance, remove red-eye, and crop photos. Enhancing improves a photo's overall
darkness or lightness, color saturation, and other qualities.

Crop

Remove red-eye

Auto enhance

Rotate

Edit a photo: While viewing a photo in full screen, tap Edit, then choose a tool.

With the red-eye tool, tap each eye to correct it. To crop, drag the corners of the grid, drag the
photo to reposition it, then tap Crop. You can also tap Constrain when cropping, to set a specific
ratio.

Trimming videos

You can trim the frames from the beginning and end of a video that you just recorded, or from
any other video in your Camera Roll album. You can replace the original video, or save the
trimmed version as a new video clip.

Trim a video: While viewing a video, tap the screen to display the controls. Drag either end of the
frame viewer at the top of the video, then tap Trim.

Important: If you choose Trim Original, the trimmed frames are permanently deleted from the
original video. If you choose “Save as New Clip,” a new trimmed video clip is saved in your Camera
Roll album and the original video is unaffected.

Chapter 12 Camera
78

Case 5:12-cv-0063Q.LHK Document 16-10 Filed 02/08/12 Page 38 of 41

Uploading photos and videos to your computer
You can upload the photos and videos you take with Camera to photo applications on your
computer, such as iPhoto on a Mac.

Upload photos and videos to your computer: Connect iPhone to your computer using the Dock
Connector to USB Cable.

* Mac: Select the photos and videos you want, then click the Import or Download button in
iPhoto or other supported photo application on your computer.

* PC: Follow the instructions that came with your photo application.

lf you delete the photos and videos from iPhone when you upload them to your computer,
they're removed from your Camera Roll album. You can use the Photos settings pane in iTunes to
sync photos and videos to the Photos app on iPhone (videos can be synced only with a Mac). See
"Syncing with iTunes” on page 18.

Photo Stream

Photo Stream—a feature of iCloud—automatically sends copies of photos that you take on
iPhone to your other iOS devices and computers set up with iCloud and have Photo Stream
turned on. Photos taken with your other devices using Photo Stream automatically appear on
iPhone, in the Photo Stream album in Photos. See “iCloud” on page 17.

Turn on Photo Stream: Go to Settings > iCloud > Photo Stream.

Photos are sent when you leave the Camera app, once iPhone is connected to the Internet via
Wi-Fi. Photos sent from iPhone include all photos added to your Camera Roll album, including
photos downloaded from email and text messages, images saved from web pages, and
screenshots. Photo Stream can share up to 1000 of your most recent photos across your iOS
devices and computers.

Chapter 12 Camera
Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 39 of 41
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YouTube

About YouTube

YouTube lets you watch short videos submitted by people from around the world. Some YouTube
features require a YouTube account. To set up an account, go to www.youtube.com,

Note: YouTube may not be available in all languages or areas.

Browsing and searching for videos
Browse videos: Tap any browse button at the bottom of the screen, or tap More to see additional
browse buttons. If you're watching a video, tap Done to see the browse buttons.

(ee a video to play it.

eer Sean

195% 224,262 vews €—— See related videos, or
fy 0048 lansloniwood save or share this video.

197% 8,087 views oO
00:50 kondrakicksO7

J IN 1926 views «=
01:14 suzyboaré

Soap Box Derby
100% 1.562 views
00:49 derekalvarcz

See additional browse
buttons, or rearrange
the buttons.

Tap a browse button to see a list of videos.

Change the browse buttons Tap More, then tap Edit. Drag a button to the bottom of the screen, over
the button you want to replace. Drag a button left or right to move it. When
you're finished, tap Done.

Browse related videos Tap ©) next to any video in a list.

Search for a video Tap Search at the bottom of the screen, then tap the search field.

See more videos submitted by Tap © next to the current video on the video information screen, then tap
the same account More Videos.

79
80

Case 9:12-cv-00630-LHK Document 16-10 Filed 02/08/12 Page 40 of 41

Playing videos
Watch a video: Tap any video as you browse. Playback starts when enough of the video is
downloaded to iPhone. The shaded portion of the scrubber bar shows download progress.

Drag to skip
forward or back. Download progress

Tap the video
to show or
hide the
controls.
nani ie | Sd) SS — Watch ona
c= TV with
Apple TV.
Add the video to your Drag to adjust
YouTube Favorites. the volume.
Pause or resume playback Tap II or ®. You can also press the center button on the iPhone earphones.
Start again from the beginning Tap I44 while the video is playing. If you've watched less than five seconds
of the video, you'll skip instead to the previous video in the list.
Scan forward or back Touch and hold 144 or PPL.
Skip to any point Drag the playhead along the scrubber bar.
Skip to the next or previous video = Tap bP I to skip to the next video. Tap 144 twice to skip to the previous video.
ina list if you've watched less than five seconds of the video, tap only once.
Switch between fill screen and Double-tap the video. You can also tap [9 to make the video fill the
fit screen screen, or tap EM to make it fit the screen.
Stop watching a video Tap Done.

Watching YouTube on a TV

You can wach YouTube videos, including videos in HD format (iPhone 4), on a TV by connecting
iPhone to your TV or AV receiver using an Apple Component AV Cable, Apple Composite AV Cable,
Apple VGA Adapter, or Apple Digital AV Adapter (iPhone 4), or wirelessly by using AirPlay and
Apple TV. See “Watching videos on a TV" on page 111.

Keeping track of videos you like
Add a video to your list of favorites or to a playlist: Tap @) next to a video to see buttons for
adding the video to a list.

Add a video to Favorites Tap “Add to Favorites.” If you're watching the video, tap FA.

Add a video to a playlist Tap “Add to Playlist” on the video information screen, then tap an existing
playlist or tap + to create a new playlist.

Delete a favorite Tap Favorites, tap Edit, and then tap © next to the video.

Delete a video from a playlist Tap Playlists, tap the playlist, tap Edit, then tap ©.

Delete a playlist Tap Playlists, tap a playlist, tap Edit, then tap }.

Subscribe to an account Tap ©) next to the current video (above the Related Videos list). Then tap

More Videos, scroll to the bottom of the list, and tap “Subscribe to account.”

Unsubscribe from an account Tap Subscriptions (tap More first if you don't see it), tap an account in the
list, then tap Unsubscribe.

Chapter 13. YouTube
Case 5:12-cv-00630:| HK Document 16-10 Filed 02/08/12 Page 41 of 41

Sharing videos, comments, and ratings
Show the controls for sharing, commenting, and rating: Tap ©) next to the video.

Email a link to a video Tap ©) next to a video and tap Share Video. Or, if you're watching the video,
just tap

Rate or comment on a video On the More Info screen, tap “Rate, Comment, or Flag,” then choose “Rate or
Comment.”

Send a video to YouTube Open the Photos app, select the video, then Tap .

Getting information about a video
View a description and viewer comments: Tap ©) next to the video in a list, then tap ©) again
when it appears at the top of the screen.

Sending videos to YouTube
If you have a YouTube account, you can send videos directly to YouTube. See “Sharing photos and
videos” on page 73.

Chapter 13 YouTube

81
